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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Marci Marie Webber
                                Plaintiff,
v.                                                 Case No.: 1:20−cv−07807
                                                   Honorable Charles R. Norgle Sr.
State of Illinois, et al.
                                Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 18, 2022:


       MINUTE entry before the Honorable Charles R. Norgle: Motion for leave to
withdraw James J. Eccleston, Esquire as attorney and for extension of time to file second
amended complaint [65] is granted. Second amended complaint is due by 9/15/2022.
Attorney James Joseph Eccleston terminated. Mailed notice(smm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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